  1   David N. Chandler, Sr.    SBN 60780
      David N. Chandler, Jr.    SBN 235427
  2   DAVID N. CHANDLER, p.c.
      1747 Fourth Street
  3   Santa Rosa, CA 95404
      Telephone: (707) 528-4331
  4
      Attorneys for Debtors
  5
                              UNITED STATES BANKRUPTCY COURT
  6                          NORTHERN DISTRICT OF CALIFORNIA

  7
      IN RE:                                          CASE No. 17-10828 WJL
  8
      FLOYD E. SQUIRES, III and                       CHAPTER 11
  9   BETTY J. SQUIRES,
                                                      APPLICATION TO EMPLOY
 10         Debtors.                          /       SPECIAL COUNSEL; DECLARATION
                                                      OF BRADFORD C. FLOYD
 11

 12        TO:    THE      HONORABLE     WILLIAM          J.     LAFFERTY,     UNITED        STATES
 13   BANKRUPTCY COURT JUDGE:
 14        David    N.     Chandler,     Attorney          for   Debtors,      makes    ex-parte
 15   application for an Order approving retention of Bradford C. Floyd as
 16   Special Counsel       pursuant to 11 U.S.C. Section 327 and represents as
 17   follows:
 18        1.    Applicants are the Debtors in the above-captioned Chapter
 19   11 proceeding.
 20        2.      The Debtors require Special Counsel to assist in a state
 21   court action pending in Humboldt County Superior Court entitled City
 22   of Eureka, et al. v. Floyd Squires, et al. - DR110040 (“Action”)
 23   wherein the Debtors are Defendants.
 24        3.     Pursuant to an Interim Ruling entered on July 2, 2013, a
 25   Receiver     (Jeff    Smith)     was        appointed      with    powers    related      to
 26   supervision    of     remedial     action        required     to   bring    the    subject
 27   properties into compliance with applicable building and safety
 28
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  1   codes.     Some work remains.

  2         4.     Prior   to   the    Debtors’     bankruptcy      petition     filing        on

  3   November 8, 2017, the Debtors were represented by the Floyd Law Firm

  4   in the Action.

  5         5.     Bradford C. Floyd, Senior Partner at Floyd Law Firm,

  6   previously represented the Debtors in the relevant matters as stated

  7   in his Declaration filed herewith.

  8         6.     The Debtors believe it is in their best interest to have

  9   Bradford C. Floyd, Floyd Law Firm, continue representing their

 10   interest in the Action.

 11         7.     The continued representation by Bradford C. Floyd, Floyd

 12   Law   Firm   is   desired    because     attorney        Bradford    C.   Floyd     is   a

 13   litigation    attorney      with    experience      in    Civil     matters   and    has

 14   represented the Debtors in the Action since the Debtors were served,

 15   and is familiar with the factual and legal issues in the Action.

 16         8.     It is necessary that the Debtor employ this attorney under

 17   a general fee agreement based on time and standard billable charges.

 18         9.     Applicant is informed that Bradford C. Floyd, Floyd Law

 19   Firm charges $375 per hour for Senior Partner time, $300 per hour

 20   for Junior Partner time and $130 per hour for paralegal time for

 21   legal services.      Bradford C. Floyd, Floyd Law Firm agreed to accept

 22   the matter upon execution of a general fee agreement and the Court

 23   authorizing his employment.            Approval for Mr. Floyd’s fees will be

 24   sought by separate application.

 25         10.     Bradford      C.     Floyd,   Floyd    Law     Firm,    indicated      his

 26   willingness to act on the Debtors’ behalf and to be compensated in

 27   accordance with the terms and conditions set forth in Paragraph 9

 28 hereof.
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  1        11.    To the best of Applicant’s knowledge,   Bradford C. Floyd

  2   does not have any connection with the Debtors, their creditors or

  3   any other party in interest, or their respective attorneys or

  4   accountants, the United States Trustee or any person employed in the

  5   Office of the United States Trustee and represents no interest

  6   adverse to the Debtors in the matters upon which he is to be

  7   retained, except as may be represented in the affidavit filed

  8   herewith.

  9        12.    The Debtors believe that Floyd Law Firm and its partners,

 10   do not hold or represent any interest adverse to that of the Trustee

 11   or the Debtors’ estate and that said law firm is a disinterested

 12   person with the meaning of 11 U.S.C., §101(13) for the purposes of

 13   their employment as special counsel in the Action.

 14        WHEREFORE, the Debtors request that they be authorized to

 15   employ     Bradford C. Floyd, Floyd Law Firm to render the services

 16   described in this application pursuant to, and under a general fee

 17   agreement, on the terms and conditions recited above.

 18   Dated:      1/18/18                  DAVID N. CHANDLER, p.c.

 19
                                           By: /s/ David N. Chandler
 20                                        DAVID N. CHANDLER,
                                           Attorney for Debtors
 21

 22

 23                AFFIDAVIT OF BRADFORD C. FLOYD IN SUPPORT OF
                    APPLICATION FOR ORDER AUTHORIZING DEBTOR TO
 24                 EMPLOY ATTORNEY UNDER GENERAL FEE AGREEMENT

 25        BRADFORD C. FLOYD, being duly sworn, deposes and says:

 26        1.     I am an attorney with an office located at 819 7th St,

 27   Eureka, California.

 28         2.  I am the beneficiary of two Deed of Trusts describing
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                                           3
  1   property of the estate, to wit, 1429 Sunny Ave., Eureka and 2535 L

  2   St., Eureka.    Said Deeds of Trust secure a balance of approximately

  3   $335,000. The Debtors are also indebted to me for unpaid fees and

  4   expenses relating to the litigation with the City of Eureka in the

  5   approximate amount of $516,475.            I am clear that Mr. Chandler will

  6   handle all matters associated with such claims and interests on

  7   behalf of the Debtors and the estate which relate to me.

  8        3.    Insofar as I have been able to ascertain, neither I, nor

  9   any employee of my office has any connection with the Debtors

 10   herein, their creditors, or any other party in interest or their

 11   respective attorneys and accountants, the United States Trustee or

 12   any person employed in the Office of the United States Trustee, and

 13   have no interest which is adverse to my representation of the

 14   Debtors herein other than as set forth above.

 15        4.    Based on the foregoing, I am a disinterested person within

 16   the meaning of Sections 101(14) and 327 of the Bankruptcy Code.

 17        5.    My Firm charges $375 per hour for Senior Partner time, $300

 18   per hour for Junior Partner time and $130 per hour for paralegal

 19   time for legal services.

 20        6.    I advised the Debtors that I am willing to serve as their

 21   attorney under a general fee agreement based on time and standard

 22   billable charges.       I agreed to accept the matter upon the Debtors

 23   execution of a general fee agreement and the Court authorizing my

 24   employment.      Approval for my fees will be sought by separate

 25   application.

 26   Dated:      1/11/18                            /s/ Bradford C. Floyd
                                                    BRADFORD C. FLOYD
 27

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  1                               CERTIFICATE OF SERVICE

  2

  3        I am a citizen of the United States, and over the age of

  4   eighteen (l8) years, employed at 1747 Fourth Street, Santa Rosa,

  5   California, and not a party to the within action.

  6        On    January    18,   2018,      I   served   a   copy   of    the   following

  7   documents: APPLICATION TO EMPLOY SPECIAL COUNSEL; DECLARATION OF

  8   BRADFORD C. FLOYD and (PROPOSED) ORDER AUTHORIZING EMPLOYMENT OF

  9   SPECIAL COUNSEL on the interested parties in said action by placing

 10   a true copy thereof enclosed in a sealed envelope with postage

 11   thereon fully prepaid in the United States post office mail box at

 12   Santa Rosa, California, addressed as follows:

 13   U.S. Dept. Of Justice
      Office of the U.S. Trustee
 14   450 Golden Gate Ave., 5th FL, Ste #05-0153
      San Francisco, CA 94102
 15

 16   Office of the United States Trustee
      Attn: Jared A. Day
 17   300 Booth Street, Suite 3009
      Reno, NV 89509
 18

 19        I, JANE F. KAMAS, declare under penalty of perjury that the

 20   foregoing is true and correct.

 21        Executed on January 18, 2018, Santa Rosa, California.

 22
                                                     /s/ Jane F. Kamas
 23                                                 JANE F. KAMAS

 24

 25

 26

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